        Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 1 of 16 PageID #:2047


 07_01_Exhibits_Declaration of Service_24-cv-05989



                                                         UNITED STATES DISTRICT COURT
                                                         NORTHERN DISTRICT OF ILLINOIS
                                                               EASTERN DIVISION


ALLSTAR MARKETING GROUP, LLC,
                                                                                 CASE NO.: 1:24-CV-05989
                    PLAINTIFF,

V.
                                                                                 JUDGE MANISH S. SHAH
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                                                 MAGISTRATE JUDGE JEFFREY T. GILBERT
                    DEFENDANTS.



                                                     DECLARATION OF SERVICE | EXHIBITS

                  EXHIBIT                                                     DESCRIPTION

                 Exhibit 1                                               Service Email Addresses

                 Exhibit 2                                                   Service Website

                 Exhibit 3                                                    Service E-Mail

                                                             Examples of Service / Notification of the Lawsuit
                 Exhibit 4
                                                              Sent from Online Marketplaces to Defendants
          Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 2 of 16 PageID #:2048



                                              07-01_EXHIBIT 1_DECLARATION OF SERVICE_24-CV-05989


                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


     ALLSTAR MARKETING GROUP, LLC,
                                                                                   CASE NO.: 1:24-CV-05989
             PLAINTIFF,

     V.
                                                                                   JUDGE MANISH S. SHAH
     THE PARTNERSHIPS AND UNINCORPORATED
     ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                                                   MAGISTRATE JUDGE JEFFREY T. GILBERT
             DEFENDANTS.



                           EXHIBIT 1 | SERVICE EMAIL ADDRESSES
NO.                          SELLER NAME                                                                         EMAIL ADDRESS(ES)
 1            Baoying Meilida Christmas Glass Crafts Factory                                                       joe@mldcraft.com
                                                                                                                sales2@centuryview.cn;
 2               Qingdao Century View Industry Co., Ltd.
                                                                                                     gavin@centuryview.cn; 6633107@qq.com
                                                                                                                jerry@cnglasswares.cn;
 3                Yancheng Jingxin Glassware Co., Ltd.                                                        sales03@cnglasswares.cn;
                                                                                                               sales06@cnglasswares.cn
 4               Ningbo Zonglv Import & Export Co., Ltd.                                                         sales@co-winwe.com
                                                                                                   info@hantotools.com; 2163678970@qq.com;
 5              Changzhou Hantechn Imp.& Exp. Co., Ltd.
                                                                                                                simon@hantotools.com
 6             Henan Supengzhe Import And Export Co., Ltd.                                          vitaslucy@163.com; 15560162893@189.cn
                                                                                                               vikey@topglassware.net;
 7                     Xuzhou Inge Glass Co., Ltd.
                                                                                                   info@topglassware.net; vikey_yin@163.com
 8           Chengdu Jiadiman International Trading Co., Ltd.                                                     info@jiadiman.com
 9               Zibo Lianghua Glass Products Co., Ltd.                                                         sales@lhglassware.com
                                                                                                             bonnie@mzlglassware.com;
10                  Qixian Elegant Glassware Co., Ltd.
                                                                                                                yaya@argosuccess.com
11              Shenzhen Winking Technology Co., Limited                                                         eva@sz-winking.com
                                                                                                             alex@shenzhenmagic.com;
12                Shenzhen Magic Technology Co., Ltd.
                                                                                                     alex@hnzlovy.com; 2032265712@qq.com
13                    Zhuhai Times Creative Co.,Ltd                                                              2312530025@qq.com
14                 Ningbo Topfeng Houseware Co., Ltd.                                                              boss@topfeng.net
                                                                                                        sales@xc-glassware.com; sunny@xc-
15                    Shanxi XC Glassware Co., Ltd.
                                                                                                                     glassware.com
16             Xuzhou Futing Packaging Materials Co., Ltd.                                                    lisadong@mail.xzfuting.cn
                                                                                                              leopardcheng@ycpot.com;
17                Haining Yuncheng Gardening Co., Ltd.                                                         yuncheng@hongyue.com;
                                                                                                                 yuncheng@ycpot.com
      Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 3 of 16 PageID #:2049



NO.                        SELLER NAME                               EMAIL ADDRESS(ES)
18              Yangzhou Allan Handicraft Factory              admin@yzrongsheng.com.cn
19                          ehome Store                        qianzhiweione@outlook.com
20                LAIDEYI-Dropshipping Store                    lanllantravel@outlook.com
21                      Shop3033016 Store                         gameremi@outlook.com
22            eHouseholds Supplies Living Hall Store               carlineup@outlook.com
23                        No desire Store                           liaokaoju16@163.com
24                    Happines_House Store                      wrdshopping@outlook.com
25                          Yi Dai Store                         jiabanaliexstore@163.com
26                         Neuf fois Store                             dizhi6li@163.com
27                        MixDecor Store                            ooeyep@outlook.com
28          xobw Kitchen Bathroom Accessories Store                    htehbd@126.com
29                House Decor1542433688 Store                    bilkoe526@sharplace.com
30                        New Yi Lu Store                       jiabanaliexstore2@163.com
31                      Practical Items Store                     13025417416@163.com
32                           X&Q Store                                    Publication
33                            Emma Sky                                    Publication
34                    Shop1103401413 Store                      lhyaliexstore518@163.com
35                      Shop3582010 Store                          directicer@outlook.com
36                           LuckyCoast                           jenniejian@foxmail.com
37                         MaXueJunUS                          maxuejun2222@outlook.com
38                            fullsupply                             usluen@outlook.com
39                           JiNanLiXue                                aheaver@yeah.net
40                     VerryGood Merchant                          babyzhu1014@163.com
41                               Unee1                                 j8h6@yahoo.com
42                               Bghxs                            chousuius@outlook.com
43                             bonanzas                           wlxhongruida@163.com
44                         CTTPEG-com                              zl295957329@163.com
45                              vertanle                               vertaus@163.com
46                        Hofumix Direct                        dingdangring@outlook.com
47                            DEAYOU                              amzbest01@hotmail.com
48                    HAIKOULiChengKun                               skin90_80@163.com
49                       Rui Mi Electronics                    ruimidianziuk@outlook.com
50                             tegongse                          huangqiping7w@163.com
51        shen zhen shi xin zhi jia mao yi you xian gong si       xinzhijiamaoyi@163.com
52                          Beautiful hut                           13312889598@189.cn
53                     Good Mind Solutions                    goodmindsolutions@gmail.com
54                             Engsuyit                              693386350@qq.com
55                       EnMercyStoreUS                        chenennkamus@hotmail.com
56                          YR Supreme                               aruiqiu@outlook.com
57                             lance005                             beimeimayi@sina.com
58                          BELUPAI®                            risklyalongdes@yahoo.com
59                              SMEX                                  mahabi9@me.com
60                         Farmer brother                           2964293043@qq.com
61                          Tangchao-US                         xiantangchao@hotmail.com
62                       HAYAN STORE                                 etravel888@163.com
63                        Kitchen Facility                     selenaxie1017@hotmail.com
64                          Klhamky life                       noodlesbrother@outlook.com
65                      chuntuguan Trading                          superzx314@163.com
      Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 4 of 16 PageID #:2050



NO.                     SELLER NAME                                EMAIL ADDRESS(ES)
66                         CestMall                                   f90195@163.com
67                        Sunstorey                              15207100819@163.com
68                IdealForYouStoreDirectUS                  xielianxiangamzus@hotmail.com
69                         Fa-DCL                                xiyun4667@outlook.com
70                       CaoShuoUS                              caoshuo332@outlook.com
71                        MEINUO                                 meinuoinc@hotmail.com
72                         Veurshop                            zhuoqiao0464758@163.com
73                      BOPEY Direct                                568622973@qq.com
74                          Aceliky                           fuxiaodianziuk@outlook.com
75                       nice morning                             lejinjiaus@outlook.com
76                       huanlan store                        m18370060601_1@163.com
77                          ZMTT                                   1014762955@qq.com
     Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 5 of 16 PageID #:2051



                                    07-02_EXHIBIT 2_DECLARATION OF SERVICE_24-CV-05989


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ALLSTAR MARKETING GROUP, LLC,
                                                                         CASE NO.: 1:24-CV-05989
        PLAINTIFF,

V.
                                                                         JUDGE MANISH S. SHAH
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                                         MAGISTRATE JUDGE JEFFREY T. GILBERT
        DEFENDANTS.



                          EXHIBIT 2 | SERVICE WEBSITE
                Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24
10/16/24, 4:34 PM                                           24-cv-05989 Page 6 of 16 PageID #:2052




                                                                          NOTICE TO DEFENDANTS | CASE NO. 1:24-cv-05989


                                                           Allstar Marketing Group LLC v. The Partnerships and Unincorporated Assoc.

       The Defendants operating the Defendants Internet Stores listed in Schedule A to the Complaint are hereby advised: Plaintiff has charged Defendants with violations of United States federal laws prohibiting trademark
                                                     infringement and counterfeiting, copyright infringement, and state and federal law prohibiting false designation of origin.


     A copy of the Complaint, Summons, and other legal documents may be downloaded below when publicly available. Any answer, or other response to the Complaint, should be filed with the Clerk of the Court, United States
                 District Court for the Northern District of Illinois, Eastern Division, Chicago, Illinois within twenty-one (21) days from when the summons is served upon you, which occurred on October 16, 2024.

                                        If no appearance or pleading is filed, the Court may render a default judgment against the Defendants. Defendants are advised to seek legal counsel.



                                                                                  To initiate resolution to this matter, contact Plaintiff’s attorney:
                                                                                                       Sullivan & Carter, LLP
                                                                                                      E-Mail: attorney@scip.law




   Case Documents



     01-00_Complaint_24-cv-05989 (pdf)


     01-01_Exhibit 1_Trademarks_24-cv-05989 (pdf)


     01-02_Exhibit 1_Copyrights_24-cv-05989 (pdf)


     01-03_Exhibit 3_Schedule A_24-cv-05989 (pdf)


     02_Summons_24-cv-05989_stamped (pdf)


     04-00_Motion for Temporary Restraining Order_24-cv-05989 (pdf)


     04-01_Memo in Support of Motion for TRO_24-cv-05989 (pdf)


     05-00_Motion for Electronic Service of Process_24-cv-05989 (pdf)


     05-01_Memo in Support of Motion for E-Service_24-cv-05989 (pdf)


     06-00_Temporary Restraining Order_24-cv-05989 (pdf)


     07_Motion for Extension of TRO_24-cv-05989 (pdf)


     08-00_Motion for Preliminary Injunction_24-cv-05989 (pdf)


     08-01_Memo in Support of Motion for PI_24-cv-05989 (pdf)


     09-00_Notice of Motion for PI_24-cv-05989 (pdf)




                                                                                                               Notice:

                                     On October 16, 2022, Plaintiff filed a Motion for Preliminary Injunction [Docket No. 39] against the Defendants identified on Schedule A to the Complaint.


                               The Motion for Preliminary Injunction has been noticed for a hearing in front of the Honorable Judge Shah on Tuesday, October 22, 2024, at 9:45 a.m. [See Docket No.




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                                                                                                              Payments




https://sullivancarterlaw.com/24-cv-05989                                                                                                                                                                                       1/1
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                                    07-03_EXHIBIT 3_DECLARATION OF SERVICE_24-CV-05989


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ALLSTAR MARKETING GROUP, LLC,
                                                                         CASE NO.: 1:24-CV-05989
        PLAINTIFF,

V.
                                                                         JUDGE MANISH S. SHAH
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                                         MAGISTRATE JUDGE JEFFREY T. GILBERT
        DEFENDANTS.



                           EXHIBIT 3 | SERVICE E-MAIL
           Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 8 of 16 PageID #:2054


SCIP Attorney

From:                              SCIP Attorney
Sent:                              Wednesday, October 16, 2024 4:37 PM
To:                                SCIP Attorney
Subject:                           Allstar Marketing Group, LLC v. The Partnerships | Case No. 1:24-cv-05989 | Service of
                                   Process
Attachments:                       04-00_Motion for Temporary Restraining Order_24-cv-05989.pdf; 04-01_Memo in
                                   Support of Motion for TRO_24-cv-05989.pdf; 05-00_Motion for Electronic Service of
                                   Process_24-cv-05989.pdf; 05-01_Memo in Support of Motion for E-Service_24-
                                   cv-05989.pdf; 06-00_Temporary Restraining Order_24-cv-05989.pdf; 07_Motion for
                                   Extension of Temporary Restraining Order_24-cv-05989.pdf; 01-00_Complaint_24-
                                   cv-05989.pdf; 01-01_Exhibit 1_Trademarks_24-cv-05989.pdf; 01-02_Exhibit 1
                                   _Copyrights_24-cv-05989.pdf; 01-03_Exhibit 3_Schedule A_24-cv-05989.pdf; 02
                                   _Summons_24-cv-05989_stamped.pdf; 08-00_Motion for Preliminary Injunction_24-
                                   cv-05989.pdf; 08-01_Memo in Support of Motion for PI_24-cv-05989.pdf; 09-00_Notice
                                   of Motion for PI_24-cv-05989.pdf




Dear Defendants:

The defendants operating the Defendant Internet Stores listed on Schedule A to the Complaint are hereby advised:

Plaintiff has charged Defendants with violations of United States federal and state laws prohibiting trademark and
copyright infringement and counterfeiting. Attached, please find a copy of the following pleadings filed in this case:
    - Complaint & Exhibits to the Complaint
    - Summons
    - Motion for Leave to File Under Seal and Proceed Anonymously
    - Memorandum in Support of Motion for Leave to File Under Seal and Proceed Anonymously
    - Motion for Temporary Restraining Order
    - Memorandum in Support of Motion for Temporary Restraining Order
    - Motion for Electronic Service of Process
    - Memorandum in Support of Motion for Electronic Service of Process
    - Temporary Restraining Order
    - Motion for Extension of Temporary Restraining Order
    - Motion for Preliminary Injunction
    - Memorandum in Support of Motion for Preliminary Injunction
    - Notice of Motion for Preliminary Injunction

Furthermore, these and other legal documents may be obtained from Plaintiff's attorney, attorney@scip.law, and at the
following website:
        Allstar Marketing Group, LLC v. The Partnerships & Unincorporated Associations Identified on Schedule
        A
        Case No. 1:24-cv-05989
        https://www.sullivancarterlaw.com/24-cv-05989

Any Answer, or other response, to the Complaint should be filed with the Clerk of the Court, United States District Court
for the Northern District of Illinois, Eastern Division, Chicago, Illinois within twenty-one (21) days from the day you
receive the Summons. If no appearance or pleading is filed, the Court may render a judgment against the defendants.




                                                             1
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If you do not wish to litigate this matter in court, we can still offer you a settlement, which will allow you to get your
account back and to have the case dismissed against you. Please see the above contact information, if you wish to settle
with Plaintiff.

If you have retained legal counsel for this matter, please forward this correspondence accordingly.

Sincerely,
Attorneys for Allstar Marketing Group, LLC

---
                                                Sullivan & Carter, LLP
                                                Attorneys for Plaintiff
                                                Email:   attorney@scip.law
                                                Firm:    (929) SCIP-LAW
                                                         (929) 724-7529
                                                Website: www.scip.law


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                                                                                       2
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                                    07-04_EXHIBIT 4_DECLARATION OF SERVICE_24-CV-05989


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ALLSTAR MARKETING GROUP, LLC,
                                                                         CASE NO.: 1:24-CV-05989
        PLAINTIFF,

V.
                                                                         JUDGE MANISH S. SHAH
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                                         MAGISTRATE JUDGE JEFFREY T. GILBERT
        DEFENDANTS.



 EXHIBIT 4 | EXAMPLES OF SERVICE / NOTIFICATION OF THE LAWSUIT
       SENT FROM ONLINE MARKETPLACES TO DEFENDANTS
Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 11 of 16 PageID #:2057




                      ALIEXPRESS SERVICE EMAIL
Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 12 of 16 PageID #:2058




                        ALIBABA SERVICE EMAIL
Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 13 of 16 PageID #:2059




                          EBAY SERVICE EMAIL
Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 14 of 16 PageID #:2060




                          SHEIN SERVICE EMAIL
Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 15 of 16 PageID #:2061




                       PAYONEER SERVICE EMAIL
 Case: 1:24-cv-05989 Document #: 42-2 Filed: 10/16/24 Page 16 of 16 PageID #:2062




                                           SHOPIFY SERVICE EMAIL


From: Shopify
Sent: Wednesday, July 17, 2024 8:46 PM
To:
Subject: Notification of Court Order for your connected Shopify Payments Account


 Hello [REDACTED],

 Stripe received a court order concerning the below account and has acted in accordance with that order. Until
 Stripe receives confirmation from the court that this matter is resolved, this account will remain paused.
 ·     [REDACTED] (Stripe ID associated to your Shopify Payments account)

 You will need to resolve this directly with the court or law firm that sent Stripe the court order (the information
 is listed below) and have them send a release notice to Stripe.

 If you have further questions regarding the hold you can contact Stripe at llg-notices@stripe.com or, the court
 or law firm in the notice. Shopify is unable to release a hold placed by our payment processors, this must be
 resolved directly with the lien holder and payment processor.

 See 23-cv-15059 in the NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION. For more information, please
 contact the attorney who sent this order or the court that issued it.
 Contact Information for the requesting attorney :
 attorney@scip.law

 Regards,
 Carlos
 Shopify Recovery
 recovery_operations@shopify.com

 Ticket ID: e782ce39-cc6a-4911-be9e-270ee012a7f5



                             151 O'Connor Street, Ground floor, Ottawa, ON, K2P 2L8
